                      UNITED  STATES COURT
                       Case: 25-1585       OF7APPEALS
                                     Document:   Page: 1FORDate
                                                           THEFiled:
                                                                THIRD  CIRCUIT
                                                                     04/07/2025

                                                      No.   25-1585


                           Atlas Data Privacy Corporation     vs. The Alesco Group, L.L.C., et al.

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 Please OLVWthe names of all parties represented, using additional sheet(s) if necessary:

 Atlas Data Privacy Corporation, et al.
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)                 ____ Appellant(s)                ____ Intervenor(s)

          ✔ Respondent(s)
         ____                               ____ Appellee(s)                 ____ Amicus Curiae

(Type or Print) CounseO’s Name Rajiv D. Parikh
                               ________________________________________________________________
                                    ✔ Mr.
                                  ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

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SIGNATURE OF COUNSEL:

COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
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ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 
